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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:14CR37
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
TINA L. CASH,                                 )
                                              )
              Defendant.                      )

       The Court has received the Presentence Investigation Report (“PSR”) in this case.

The parties have not objected to the PSR. See Order on Sentencing Schedule, ¶ 6. The

Court takes note that the government did not filed a formal objection, but it did present an

objection in the Addendum to the PSR, objecting to Paragraphs #20 and #29. The Court

advises the parties that these Tentative Findings are issued with the understanding that,

pursuant to United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are

advisory.

       IT IS ORDERED:

       1.     The government’s informal objection will be heard at the sentencing hearing

and the Court intends to adopt the parties’ plea agreement;

       2.     The Court intends to adopt the PSR in all other respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary
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hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

      4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

      5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      DATED this 27th day of August, 2014.

                                         BY THE COURT:


                                         s/Laurie Smith Camp
                                         Chief United States District Judge




                                               2
